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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on February 14, 2022

UNITED STATES OF AMERICA
v.
THOMAS ROBERTSON,

Defendant.

Crim No. 21-er-34 (CRC)
VIOLATIONS:

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction and Aiding and Abetting)
18 U.S.C. § 231(a)(3), 2

(Civil Disorder and Aiding and Abetting)
18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building)

40 U.S.C. § 5104(e)(2)(D)

(Violent Entry and Disorderly Conduct in a
Capitol Building)

18 U.S.C. § 1512(e)(1)

(Tampering with Document or
Proceedings)

SECOND SUPERSEDING INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about the January 6, 2021, in the District of Columbia and elsewhere, the defendant,

THOMAS ROBERTSON attempted to and did, corruptly obstruct, influence, and impede an

official proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of

’ the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United

States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Section 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, within the District of Columbia, the defendant, THOMAS
ROBERTSON, committed and attempted to commit an act to obstruct, impede, and interfere with
law enforcement officers lawfully engaged in the lawful performance of their official duties
incident to and during the commission of a civil disorder which in any way and degree obstructed,
delayed, and adversely affected commerce and the movement of any article and commodity in
commerce and the conduct and performance of any federally protected function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Section 231(a)(3) and 2)

COUNT THREE
On or about January 6, 2021, in the District of Columbia, the defendant, THOMAS
ROBERTSON, did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority
to do so, and during and in relation to the offense, ROBERTSON did carry a deadly and dangerous
weapon, that is, a large wooden stick.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1) and (b)(1)(A))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, the defendant, THOMAS
ROBERTSON, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President
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was and would be temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions, and during and in
relation to the offense, ROBERTSON did carry a deadly and dangerous weapon, that is, a large

wooden stick.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2) and (b)(1)(A))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, the defendant, THOMAS
ROBERTSON, willfully and knowingly engaged in disorderly and disruptive conduct in any of
the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct in that
building of a hearing before and any deliberation of a committee of Congress and either House of
Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SIX
On or about the January 13, 2021, in the District of Columbia and elsewhere, the defendant,
THOMAS ROBERTSON, did corruptly alter, destroy, mutilate, and conceal a record, document
and other object, that is, one or more cell phones, and attempted to do so, with the intent to impair
| the integrity and availability of the phone(s) for use in an official proceeding, that is, the grand ,
jury investigation into the attack on the Capitol on January 6, 2021 and the federal criminal
prosecution of ROBERTSON in the United States District Court for the District of Columbia.

(Obstruction of an Official Proceeding, in violation of Title 18, United States Code,
Section 1512(c)(1))

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ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COL IA
